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 8        IN THE UNITED STATES DISTRICT COURT FOR THE EASTERN DISTRICT OF

 9                                             CALIFORNIA

10
                                                       Case Number: 16-CR-110 TLN
11   THE UNITED STAES OF AMERICA
                                                       STIPULATION AND [PROPOSED
12   V.                                                ORDER] RE SPECIAL CODITIONS OF
                                                       PRETRIAL RELEASE
13

14   JORGE BERNAL-FARIAS

15

16
            IT IS HEREBY STIPULATED by and between the parties hereto through their
17
     respective counsel, , Assistant United States Attorney Justin Lee, attorney for Plaintiff, Olaf
18
     Hedberg, attorney for Jorge Bernal-Farias, and Renee Basurto Deputy Pretrial Release Officer
19   that the Court's previously issued Pretrial Release Order be altered to delete Conditions of
20   Release 12 & 13.
            Specifically, the parties have agreed that the Special Conditions of Release ordered by
21
     Hon. Allison Claire on 4/18/17, PACER # 83, modified on May 3, 2017 by the Hon. Kendall J.
22
     Newman, by the addition of Special Condition #14, PACER #98 be modified by the deletion of
23   Condition #12, (a requirement that Mr. Bernal-Farias participate in a location monitoring
24   program) and Condition #13 (a curfew).

25          The new Special Conditions of Release will therefore be as follows :


                                                      1
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     1. You must report to and comply with the rules and regulations of the Pretrial Services
 1
        Agency;
 2
     2. You are released to the third-party custody of your mother, Edelmira Farias;
 3
     3. You must reside with your custodian and not move or absent yourself from this residence
 4
        for more than 24 hours without the prior approval of the pretrial services officer;
 5
     3. You must cooperate in the collection of a DNA sample;
 6
     4. You must restrict your travel to Eastern District of California unless otherwise approved
 7
        in advance by the pretrial services officer;
 8
     5. You must surrender your passport to the Clerk, U. S. District Court or file a Declaration
 9      of Lost Passport with the U.S. District Court, and obtain no passport during the pendency
10      of this case;

11   6. You must seek and/or maintain employment and provide proof of same as requested by

12      your pretrial services officer;

13   7. You must refrain from excessive use of alcohol or any use of a narcotic drug or other
        controlled substance without a prescription by a licensed medical practitioner; and you
14
        must notify Pretrial Services immediately of any prescribed medication(s). However,
15
        medicinal marijuana prescribed and/or recommended may not be used;
16
     8. You must submit to drug and/or alcohol testing as approved by the pretrial services
17      officer. You must pay all or part of the costs of the testing services based upon your
18      ability to pay, as determined by the pretrial services officer;

19   9. You must not associate or have any contact with co-defendants unless in the presence of

20      counsel or otherwise approved in advance by the pretrial services officer; and,

21   10. You must not possess, have in your residence, or have access to a firearm/ammunition,
        destructive device, or other dangerous weapon; additionally, you must provide written
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        proof of divestment of all firearms/ammunition currently under your control.
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 3                                          Respectfully submitted,
 4
                                            Dated May 4, 2018
 5
                                            by /s/ Olaf W. Hedberg
 6                                          Olaf W. Hedberg, Esq.
                                            Attorney for Jorge Bernal-Farias
 7

 8                                          Dated: May 4, 2018
                                            MacGregor Scott
 9                                          United States Attorney
                                            /s/ Olaf Hedberg for Justin Lee
10                                          Justin Lee
                                            Assistant United States Attorney
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 2                                              ORDER

 3          Defendant Jorge Bernal-Farias' Special Conditions of Release in case 15-CR-110 TLN,
 4   issued by Hon. Allison Claire on 4/18/17, PACER # 83, modified on May 3, 2017 by the Hon.
 5   Kendall J. Newman, be modified to delete conditions 12 & 13 to read as follows:
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 9               SECOND AMENDED SPECIAL CONDITIONS OF RELEASE

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11                                                             Re: Jorge Bernal-Farias
                                                               No. 2:16-CR-00110-TLN
12

13      1. You must report to and comply with the rules and regulations of the Pretrial Services
           Agency;
14
        2. You are released to the third-party custody of your mother, Edelmira Farias;
15      3. You must reside with your custodian and not move or absent yourself from this residence
           for more than 24 hours without the prior approval of the pretrial services officer;
16
        3. You must cooperate in the collection of a DNA sample;
17
        4. You must restrict your travel to Eastern District of California unless otherwise approved
           in advance by the pretrial services officer;
18
        5. You must surrender your passport to the Clerk, U. S. District Court or file a Declaration
19         of Lost Passport with the U.S. District Court, and obtain no passport during the pendency
           of this case;
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        6. You must seek and/or maintain employment and provide proof of same as requested by
21         your pretrial services officer;
        7. You must refrain from excessive use of alcohol or any use of a narcotic drug or other
22
           controlled substance without a prescription by a licensed medical practitioner; and you
23         must notify Pretrial Services immediately of any prescribed medication(s). However,
           medicinal marijuana prescribed and/or recommended may not be used;
24      8. You must submit to drug and/or alcohol testing as approved by the pretrial services
           officer. You must pay all or part of the costs of the testing services based upon your
25
           ability to pay, as determined by the pretrial services officer;

                                                   4
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        9. You must not associate or have any contact with co-defendants unless in the presence of
 1         counsel or otherwise approved in advance by the pretrial services officer; and,
 2      10. You must not possess, have in your residence, or have access to a firearm/ammunition,
            destructive device, or other dangerous weapon; additionally, you must provide written
 3          proof of divestment of all firearms/ammunition currently under your control.

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     IT IS SO ORDERED
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     Dated: May 7, 2018
10                                                _____________________________________
                                                  CAROLYN K. DELANEY
11                                                UNITED STATES MAGISTRATE JUDGE
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